
The following order has been entered on the motion filed on the 6th of June 2018 by Defendant for Notice of Appeal:
"Motion Dismissed by order of the Court in conference, this the 14th of August 2018."
The following order has been entered on the motion filed on the 6th of June 2018 by Defendant for Petition for Discretionary Review:
"Motion Dismissed by order of the Court in conference, this the 14th of August 2018."
Upon consideration of the petition filed by Defendant on the 6th of June 2018 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 14th of August 2018."
